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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

 UNITED STATES OF AMERICA,                     §
                                               §
        Plaintiff,                             §
                                               §   CRIMINAL NO. EP-24-MJ-03096-MAT
 v.                                            §
                                               §
 ELEAZER KASSHOGGI MUJICA-                     §
 ROJAS,                                        §
 also known as (a.k.a.): La Fresa,             §
                                               §
        Defendant.                             §

          UNITED STATES= MOTION TO DISMISS CRIMINAL COMPLAINT

TO THE HONORABLE JUDGE:

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of the

Court, the United States Attorney for the Western District of Texas, hereby moves to dismiss and

requests that the Court dismiss the original Criminal Complaint, without prejudice, against

Defendant EELEAZER KASSHOGGI MUJICA-ROJAS, a.k.a. La Fresa.




DATED: September 30, 2024                   Respectfully submitted,

                                            JAIME ESPARZA
                                            UNITED STATES ATTORNEY


                                    By:     /s/ Richard D. Watts__________
                                            RICHARD D. WATTS
                                            Assistant U.S. Attorney
                                            New Mexico Bar #9059
                                            700 E. San Antonio, Suite 200
                                            El Paso, Texas 79901
                                            (915) 534-6884
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the September 30, 2024, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

following participant:

Ben Ivey,
Attorney for Defendant
                                                              /s/
                                                    Richard D. Watts
                                                    Assistant United States Attorney




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        Plaintiff,                              §
                                                §   CRIMINAL NO. EP-24-MJ-03096-MAT
 v.                                             §
                                                §
 ELEAZER KASSHOGGI MUJICA-                      §
 ROJAS,                                         §
 also known as (a.k.a.): La Fresa,              §
                                                §
        Defendant.                              §

        ORDER GRANTING MOTION TO DISMISS CRIMINAL COMPLAINT

       On this date came to be considered United States= Motion to Dismiss the Criminal

Complaint in the above captioned case.

       After considering the United States= Motion and the status of this case, the Court is of the

opinion that the Motion should be GRANTED.

       IT IS THEREFORE ORDERED that the Criminal Complaint filed on July 22, 2024,

regarding Defendant, ELEAZER KASSHOGGI MUJICA-ROJAS, a.k.a.: La Fresa, be

dismissed, without prejudice.




       SIGNED this __________ day of _______________________, 2024.




                                             _______________________________
                                             HONORABLE MIGUEL A. TORRES
                                             UNITED STATES DISTRICT JUDGE
